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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF OKLAHOMA


CHRIS D. RISENER and LACRISTA A. )
BAGLEY, FORMERLY LACRISTA A. )
RISENER,                         )
                                 )
      Plaintiffs,                )                Case No. CIV-10-1110-R
v.                               )                The Honorable David L. Russell
                                 )
BANK OF AMERICA, N.A., as        )
successor by merger to           )
BAC HOME LOANS SERVICING, LP )
                                 )
      Defendants.                )


               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Plaintiffs Chris D. Risener and Lacrista A. Bagley, and Defendant Bank of America,

N.A., as successor by merger to BAC Home Loans Servicing, LP, pursuant to Rule 41(a)(1)

of the Federal Rules of Civil Procedure, do hereby stipulate to the dismissal of the above-

styled and numbered case, and all claims asserted therein, with prejudice to the refiling

thereof. The parties stipulate that they shall each bear their own attorneys’ fees and costs.

                                                  Respectfully Submitted,

                                                  s/ Gregg R. Renegar
                                                  Gregg R. Renegar, OBA #7500
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